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   6

   7
                             UNITED STATES DISTRICT COURT
   8
                            CENTRAL DISTRICT OF CALIFORNIA

   9
        UNITED AFRICAN-ASIAN                    Case No:
  10    ABILITIES CLUB, ON BEHALF
  11
        OF ITSELF AND ITS                       COMPLAINT
        MEMBERS; JAMES LEE, An
  12    Individual                              DISCRIMINATORY
  13                                            PRACTICES
                            Plaintiffs,         [US Fair Housing Act of 1988 [42
  14
                                                U.S.C. §§ 3600 et seq, §3604(c),
  15          v.                                §3604(f)(1-3), et seq.; CA
                                                Government Code 12925, 12927,
  16
        CCC --- PROPERTY GROUP 5,               12955; CA Civil Code §§ 51, 52,
  17    LLC; AND DOES 1 THROUGH                 54.3
  18
        10, Inclusive
                                                DEMAND FOR JURY TRIAL
  19                        Defendants.
  20
                                          INTRODUCTION
  21
       1.    Plaintiffs make the following allegations in this civil rights action:
  22                              JURISDICTION AND VENUE
  23   2.      The federal jurisdiction of this action is based on the 42 U.S.C. §§ 3601,
  24   3604 et. seq. - the U.S. Fair Housing Act Amendments of 1988 (Defendants’
  25
       apartment property consist of four (4) or more residential units), and 42 U.S.C. §
  26
       12101 et. seq., the federal Americans With Disabilities Act. Venue is proper in this
  27
       United States District Court for the Central District of California pursuant to 28
  28

                        1
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   1
       U.S.C. § 1391(b), because a substantial part of Plaintiffs’ claims arose within said
   2
       Judicial District.
   3
                                SUPPLEMENTAL JURISDICTION
   4
       3.      This United States District Court for the Central District of California has
   5
       supplemental jurisdiction over the California state claims as alleged in this
   6
       Complaint pursuant to 28 U.S.C. § 1367(a).
   7
                     NAMED DEFENDANTS AND NAMED PLAINTIFFS
   8
       4.    The term Plaintiffs as used herein specifically include the corporate Plaintiff
   9
       entity known as the United African-Asian Abilities Club, On Behalf Of Itself And Its
  10
       Members (hereinafter referred to as “Club” or “UAAAC”); and the individual
  11
       Plaintiff JAMES LEE (hereinafter referred to as “LEE” or the “named Individual
  12
       Plaintiff”. The Plaintiff Club and Plaintiff LEE are sometimes collectively referred
  13
       to as the “named Plaintiffs” or “Plaintiffs”.
  14
       5.    Plaintiff United African-Asian Abilities Club (UAAAC) is registered and in
  15
       good standing as a Nevada corporation. The named individual Plaintiff LEE is a
  16
       member of the Plaintiff Club organization.
  17
       6. Plaintiffs are informed, believe, and thereon allege that named Defendant CCC -
  18
       -- PROPERTY GROUP 5, LLC is the operator of the apartment rental business
  19
       known as 1730 Coronado Avenue Apartments located at 1730 Coronado Avenue
  20
       Long Beach, CA 90804. Plaintiffs are informed, believe, and thereon allege that
  21

  22
       Defendant CCC --- PROPERTY GROUP 5, LLC, is the owner, operator, and/or

  23
       lessor of the real property located at 1730 Coronado Avenue Long Beach, CA 90804

  24
       (hereinafter referred to as the “Property”).

  25
       7.     Defendant CCC --- PROPERTY GROUP 5, LLC, is, and at all times

  26
       mentioned herein were, a business or corporation or franchise, organized and

  27
       existing and/or doing business under the laws of the State of California. Defendants

  28

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   1
       Does 1 through 10, were at all times relevant herein subsidiaries, employers,
   2
       employees, and/or agents of the named Defendants.
   3
                                    CONCISE SET OF FACTS
   4
       8.    The named Individual Plaintiff Lee has hip and knee conditions, uses a device
   5
       for mobility, is unable to walk any distance, and also has a vision disability. Plaintiff
   6
       Lee is also a member of the Plaintiff Club. The individual Plaintiff Lee had specific
   7
       dates wherein he intended to go the Defendant’s Property to access Defendants’
   8
       rental services. Plaintiff Lee has actual knowledge of the overt and obvious physical
   9
       and communication barriers at Defendants’ Property. Plaintiff Lee determined that
  10
       the open and obvious physical barriers that exist at Defendants’ Property directly
  11
       related to his disabilities, and that it would be impossible or extremely difficult for
  12
       him to physically access Defendants’ on-site rental services. See ¶¶ 25. Plaintiff
  13
       Lee had knowledge of access barriers at the Property and determined that it would be
  14
       futile gesture for him to go to the Property on the date that he had intended. The
  15
       named Individual Plaintiff Lee was deterred by his actual knowledge of the physical
  16
       and communication barriers that exist at Defendants’ Property and also Defendants’
  17
       website communication barriers. As used herein, website means any internet website
  18
       where Defendants control the content. Exhibit B states the websites controlled by
  19

  20
       Defendants. Plaintiff Lee also attempted to access Defendants’ rental services on

  21
       Defendants websites but experienced great difficulty due to Defendants’ failure to

  22
       provide accessible website features.

  23
       9. The named Individual Plaintiff Lee attempted to use Defendants’ website to

  24
       access Defendants’ online rental services, but had great difficulty due to his

  25
       disabilities. The named Individual Plaintiff Lee also could not determine from

  26
       Defendants’ website content whether Defendants’ rental services at the property or
  27   off the property, and common areas at the property were physically accessible to
  28

                        3
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   1
       him. The named Individual Plaintiff Lee requested that Plaintiff Club assist him to
   2
       obtain information regarding the physical accessibility of Defendants’ rental services
   3
       at the property and off-site. In response to the named Individual Plaintiff’s request,
   4
       Plaintiff Club sent one of its members to Defendants’ property. The named
   5
       Individual Plaintiff personally reviewed all the information and photographs of
   6
       Defendants’ property. As a result, the named Individual Plaintiff has actual
   7
       knowledge of the overt and obvious physical and communication barriers to
   8
       Defendants rental service at Defendants’ Property. The named Individual Plaintiff
   9
       determined that the open and obvious physical barriers that exist at Defendants’
  10
       Property directly related to his disabilities, and that it would be impossible or
  11
       extremely difficult for him to physically access Defendants’ on-site rental services.
  12
       See ¶¶ 25. The named Individual Plaintiff Lee had actual knowledge and determined
  13
       that it would be futile gesture for him to go to the Property on the date that he had
  14
       intended. The named Individual Plaintiff was deterred by his actual knowledge of
  15
       the physical and communication barriers that exist at Defendants’ Property and
  16
       website. The named Individual Plaintiff made a written request to Defendants’ for
  17

  18
       an accommodation to have equal access to Defendants’ rental services and to

  19
       eliminate the communication and physical barriers to Defendants’ rental services,

  20
       both online and at the property. At the end of this action, the named Individual

  21
       Plaintiff Lee intends to return to Defendants’ website and Defendants’ property to

  22
       obtain rental information and verify that the communication and physical barriers to

  23
       Defendants’ rental services are removed.

  24
       10.   The named Plaintiff Club is an organization that advocates on the behalf of its

  25
       members with disabilities when their civil rights and liberties have been violated.

  26
       Plaintiff Club and Plaintiff Lee investigated Defendants’ websites and apartment

  27
       Property in August, 2024, and in October, 2024. The named Plaintiffs investigated

  28

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   1
       Defendants apartment property and Defendants websites. Plaintiff Club member
   2
       Sharon Riguer investigated the Property on the Internet websites. Additional
   3
       Plaintiff Club members investigated Defendants websites and found that they did not
   4
       provide equal access. The results of the research from Club Member Sharon Riguer
   5
       are contained in the Exhibit B to this Complaint. Club members ascertained that
   6
       Defendants’ rental services at Defendants Property were not physically accessible to
   7
       Plaintiff Lee by a Club member with a disability who went to Defendants’ apartment
   8
       Property, and said Club member attempted to access Defendants’ on-site rental
   9
       services.
  10
       11.   Plaintiff Club diverted its time and resources from its normal purposes
  11
       because of Defendants’ service, policy, program and physical barriers to Defendants
  12
       rental services at Defendants’ websites and Property. Club personnel conducted
  13
       detailed Internet searches to determine if Defendants provide large print, deaf
  14
       interpreter, therapy animal, the required reasonable accommodation policy, and
  15
       required reasonable modification policy. Further, the Club retained contractors to
  16
       investigate said policies, to survey the property, to photograph the property, to
  17
       investigate when the Property was constructed, to investigate the Property ownership
  18
       and to have an access report prepared. Plaintiff Club also diverted staff to
  19
       investigate Defendants' Internet presence to determine compliance with the FHA and
  20
       ADA. Plaintiff Club also investigated Defendants' written rental materials such as
  21

  22
       brochures, rental applications and leases. Moreover, Plaintiff Club made an oral

  23
       investigation to ascertain Defendants' companion animal, deaf interpreter and

  24
       reasonable accommodation and reasonable modification policies. Plaintiff Club also

  25
       caused a physical access consultant to be retained to survey Defendants' facility.

  26
       Plaintiff Club’s findings regarding Defendants’ rental services and facilities were

  27
       incorporated into an Access Report. The Access Report also details the known overt

  28

                        5
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   1
       and obvious physical access violations at the Property, but it is not intended as an
   2
       exhaustive list of existing violations. Due to these necessary activities to investigate,
   3
       Plaintiff Club’s time and resources were diverted from its normal activity. Plaintiff
   4
       Club suffered injury and also suffered monetary damages due to the diversion of the
   5
       Club’s resources from its normal purposes.
   6
       12.   Plaintiffs allege that Defendants control, operate, and maintain web pages at
   7
       different apartment websites where Defendants offer its rental services.
   8
       Additionally, Defendants provide rental services located at the Property.
   9
       13.   Plaintiffs allege that Defendants’ websites have a close nexus to Defendants’
  10
       physical site rental services because the websites refer to Defendants’ rental services
  11
       that are offered at Defendants’ property as well as elsewhere off the site. Therefore,
  12
       Plaintiffs allege that the websites are also places of public accommodation.
  13
       Defendants control the websites to the extent that Defendants can change the website
  14
       content to make modifications to comply with the FHA and ADA. Therefore,
  15
       Plaintiffs allege that Defendants can modify the content of Defendants’ websites to
  16
       improve access for Plaintiffs and people with disabilities.
  17
       14.   In this case, the named Plaintiffs allege that the Defendants failed to provide a
  18
       TTY number or the text messaging system for Plaintiffs and other people that are
  19
       deaf or people with speech conditions. Plaintiff Club members have a speech
  20
       disability. Moreover, Plaintiff Club alleges that the Defendants did not modify their
  21

  22
       websites to eliminate non-readable text to allow the blind and people with low vision

  23
       to use the screen reader software to access the information on the website, yet they

  24
       also failed to use large print on their websites. See Exhibit B to this Complaint.

  25
       Plaintiffs assert that most popular screen reader programs are called Jobs Access

  26
       With Speech or “JAWS” and Apple’s VoiceOver Software. Defendants actions

  27
       discriminate against Plaintiff Club, specifically Club members who have low vision

  28

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   1
       disabilities. Each of the Club members above cannot use the websites controlled by
   2
       the Defendants. Modifications to Defendants’ websites will not fundamentally alter
   3
       the rental services provided and will also not cause an undue burden to Defendants,
   4
       because the cost is less than One Thousand Dollars ($1,000).
   5
       15.   On August 6, 2024, and on a second subsequent date, Plaintiff Club attempted
   6
       to make a request to the Defendants for reasonable accommodation at the property.
   7
       On October 15, 2024, the named individual Plaintiff LEE and Plaintiff Club emailed
   8
       to the Defendants a written request for a reasonable accommodation. In October,
   9
       2024, Plaintiff LEE and Plaintiff Club, mailed a written request for a reasonable
  10
       accommodation. Defendants failed to respond to both Plaintiffs requests for
  11
       reasonable accommodation as of the date of the filing of this Civil Complaint.
  12
       16.   Plaintiffs are not able to access Defendants rental services due to existing
  13
       overt and obvious communication and physical barriers to access Defendants’ rental
  14
       services both at its online website and at the property. Due to the overt and obvious
  15
       physical barriers as alleged herein below, which are required to be removed,
  16
       Plaintiffs requested that Defendants accommodate them to provide access to
  17

  18
       Defendants’ rental services.
       17.   The named Plaintiffs allege that an accommodation is also obvious when a
  19
       whole group of the protected persons requires it. For example, when the public
  20
       without disabilities are required to get up to a second level, the public would be very
  21

  22
       disturbed if they were required to request steps to go up to second level. When the

  23
       accommodation is specific to a particular person with a disability, then that person

  24
       may be required to make a request, because the accommodation is not obvious.

  25
       18.   Plaintiffs allege that they are not required to make a request for reasonable

  26
       accommodation and for auxiliary aids when the barriers to communication are overt

  27
       and obvious. However, in the present case, Plaintiffs did make such requests for

  28

                        7
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   1
       accommodation to eliminate overt and obvious barriers to its rental services
   2
       communications. Plaintiffs allege that providing effective contact information for
   3
       Defendants’ rental services on the internet is an obvious accommodation. The
   4
       general public does not need to request a contact number from the Defendant
   5
       apartment owner or operator when they desire to rent a place. Defendants provide the
   6
       contact number on their website. Therefore, Plaintiffs allege that Defendants are
   7
       required to provide the obvious accommodation of effective communication for
   8
       people that are deaf or with speech impediment on their website without a request.
   9
       Defendants must make their rental services accessible without the need for a prior
  10
       request. Furthermore, Defendants have a duty to remove architectural barriers and
  11
       communication barriers to their rental services without request.
  12
       19. Plaintiffs allege that there is disparate treatment on the internet related to the
  13
       amenities being offered to people without disabilities and people with disabilities.
  14
       All the below facts and the facts stated elsewhere herein have a disparate impact on
  15
       the disability community. The named Plaintiffs experienced and have knowledge of
  16
       the below facts that the Plaintiffs ascertained from Defendants’ websites. Defendant
  17
       operates an apartment property. The property is located at 1730 Coronado Ave, Long
  18
       Beach, CA 90804. The property was built in 1957 and has 2 stories with 18 units.
  19
       The rent is approximately: $2,095. The internet provides a wealth of information
  20
       regarding the property. The internet advertises that the property has amenities that
  21

  22
       include: Laundry Facilities, Pool, High Speed Internet Access, Heating, Smoke Free,

  23
       Kitchen, Range, Tile Floors, Application Fee $39, Utilities Included Water, Trash

  24
       Removal. The property advertises on trulia.com, zillow.com, redfin.com,

  25
       realtor.com. It is very important to know that on trulia.com, zillow.com, redfin.com,

  26
       realtor.com there is the equal housing opportunity logo. The plaintiff alleges that

  27
       there is disparate treatment on the internet related to the amenities being offered to

  28

                        8
                                                                                    COMPLAINT
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   1
       people without disabilities and people with disabilities. For example, the tow signage
   2
       was not installed. The accessible parking space had an access aisle, which was not
   3
       van accessible. The aisle did not have the “no parking” included in the access aisle.
   4
       The office had a high threshold. There was no International Symbol of Accessibility
   5
       signage. The Internet does not state the accessible amenities at all. Also, the
   6
       statement the “equal housing opportunity statement” is misleading. In fact, the
   7
       property is not completely accessible. All the above facts and the facts stated herein
   8
       have a disparate impact on the disability community.
   9
       20.   On Defendants’ websites, they allow the public without deafness and without
  10
       speech impairments to participate by providing them with a telephone number to
  11
       call. However, Plaintiff Club members that are deaf and or with speech impairments
  12
       are denied equal access to participate because the Defendants do not have any
  13
       effective communication.
  14
       21.   Defendants provide websites for people without disabilities to benefit from the
  15
       rental services without going to the apartments to learn about the properties.
  16
       However, for people with disabilities that require the access to the facility, the
  17

  18
       Defendants do not provide any information on the websites regarding if the rental

  19
       services located both on or off the property are accessible. Moreover, the Defendants

  20
       provide the telephone number for the public to call to inquire about the rental

  21
       services without providing any effective alternative communications for Plaintiffs

  22
       and other people that are deaf or have speech impairments.

  23
       22.   For people without disabilities, the Defendants provide all of the information

  24
       on their websites. For Plaintiffs with disabilities, Defendants require them to travel to
  25   the Property to determine if it is accessible, then require them to request the effective
  26   communication, and then thereafter to request a reasonable accommodation to the
  27   overt and obvious communication barrier. Therefore, Defendants require Plaintiffs
  28

                        9
                                                                                   COMPLAINT
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 1
      and other people with disabilities to suffer a separate benefit.
 2
      23.   Additionally, the named Plaintiffs are alleging photograph discrimination
 3
      related to the physical access of each of the apartments within Exhibit B to this
 4
      complaint. The purpose of Defendants’ internet photographs is to entice perspective
 5
      renters to apply online or to contact the Defendants to rent a place. Defendants’
 6
      internet photographs only entice people without mobility disabilities. Defendants’
 7
      internet photographs exclude any photographs of any accessible features that would
 8
      aid the Plaintiffs. For example, there is no photograph of accessible parking. There
 9
      are no photographs of the accessible route to the rental services both on or off the
 10
      property. There are photographs of the accessible route to the rental services. There
 11
      are no photographs related to the access to get into and use the rental services. There
 12
      are no photographs related to the accessible route of the common area. There are no
 13
      photographs of the accessible units. In fact, all the photographs lead a person with a
 14
      mobility disability to believe that the apartments are not accessible, or that they must
 15
      have someone go to the properties to make sure it is accessible. However, people
 16
      without disabilities are not required to go to the Property to see if it is accessible.
 17

 18
      24.   Defendants websites and Defendants’ rental services are not integrated for

 19
      people with disabilities as required. Plaintiffs are required to request an

 20
      accommodation. People without disabilities can access the websites and the rental

 21
      services without any problem, but Plaintiffs and other people with disabilities are

 22
      required to request for separate rental services. People with mobility conditions are

 23
      not integrated when using the websites because they must go to the apartments to

 24
      determine if they are accessible, but people without disabilities need only access
 25   Defendants’ websites to determine they can use them. People that are blind and with
 26   low vision disabilities must request help to read the website information because the
 27   printed information is too small, but people without disabilities can access the
 28

                       10
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 1
      websites without asking for help. Plaintiffs and other people with deafness or people
 2
      with speech condition must ask for help calling the number on the websites, because
 3
      Defendants fail to provide a TTY number to contact, or Defendants fail to provide a
 4
      texting system. Defendants discriminated against the Plaintiffs.
 5
      25.   Plaintiff Club member went to Defendant’s apartment facilities at the Property
 6
      in August, 2024, and on a second subsequent date, to access the rental services. The
 7
      Named Individual Plaintiff has actual knowledge of Defendants’ overt and obvious
 8
      physical barriers, that relate to this Plaintiff’s disabilities, to Defendants’ Property
 9
      on-site rental services that this Named Individual Plaintiff intended to visit in
 10
      August, 2024, and on a second subsequent date, but this Plaintiff was deterred from
 11
      accessing Defendant’s rental services located on the Property. Defendants provide
 12
      rental information, rental applications, and other rental services on-site at the
 13
      Property. Defendants’ agents confirmed to the Plaintiffs that rental information,
 14
      rental applications, and other rental services were available on-site at the Property.
 15
      Defendants’ rental services at the Property are not accessible. Defendants’ path of
 16
      travel from the sidewalk to the rental services is not accessible since it has step
 17
      changes in level along the path. There are numerous step changes in level that must
 18
      be traversed to access the main gated entrance to the complex. This gated entrance
 19
      door fails to have the required strike edge clearance and smooth and level landing of
 20
      sufficient dimensions. The main gated entrance door leading into the complex fails
 21
      to have the required smooth and uninterrupted surface at the bottom of the door. The
 22
      operating hardware on the main gated entrance door is a round knob. Defendant’s
 23
      callbox is located too high to be accessible. Within the complex, there are numerous
 24
      step changes in level and uneven surfaces that must be traversed. Defendants do not
 25
      provide the required directional signage as to the designated path of travel from the
 26
      sidewalk to Defendant’s rental services. Defendant’s rental services entrance is not
 27
      accessible due to a significant step change in level at the rental services door
 28

                       11
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 1
      threshold that is not beveled or ramped. The Named Individual Plaintiff has mobility
 2
      disabilities and these step changes in level and the other stated issues cause the path
 3
      of travel and the rental services entry to be not accessible. Defendants failed to
 4
      provide any directional signage indicating an alternate accessible path of travel to the
 5
      rental services. Defendants failed to provide the required fully compliant van
 6
      accessible disabled parking for the rental services. Defendants failed to provide a
 7
      dimensionally compliant van accessible disabled parking space and disabled parking
 8
      access aisle, the required disabled parking signage, including tow away signage, fine
 9
      signage, ground markings, and failed to locate said parking on a level surface and
 10
      nearest the rental services. Defendants also failed to provide compliant tow away
 11
      signage. The Named Individual Plaintiff requires the use of a compliant van
 12
      accessible disabled parking space to safely exit and re-enter the vehicle.
 13
      Defendants’ failure to provide the required compliant disabled parking, disabled
 14
      parking access aisle, disabled parking disability signage, access aisle, and disability
 15
      ground markings, such that the Named Individual Plaintiff is not able to safely park
 16
      at Defendants’ establishment since the individual Plaintiff may be precluded from
 17
      exiting or re-entering the vehicle if the disabled parking and disabled parking
 18
      signage is not present and others park improperly. Additionally, Defendants failed to
 19
      provide the required accessible path of travel from the parking area to the rental
 20
      services since the existing path of travel has step changes in level. Additionally,
 21
      Defendants overt and obvious communication barriers were also present at the rental
 22
      services in August, 2024, and on a second subsequent date. Defendants failed to
 23
      provide any method of text communication with their rental services and failed to
 24
      publish any information as to how to initiate text communication contact. The
 25
      Named Individual Plaintiff had actual knowledge of these barriers at Defendants’
 26
      Property that Plaintiff intended to visit, and the Named Individual Plaintiff was
 27
      deterred from accessing Defendants’ rental services at the Property again in October,
 28

                       12
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 1
      2024. See Property photos in Exhibit B and Exhibit C.
 2
      26.   Plaintiff Club and the named Individual Plaintiff desire to make sure that
 3
      Defendants’ rental services at Defendants’ property and Defendants’ websites are
 4
      fully accessible to Plaintiff Club’s members, the named Individual Plaintiff, and
 5
      other people with disabilities. Plaintiff Club, its Club members, and the named
 6
      Individual Plaintiff all have actual knowledge of Defendants’ discriminatory
 7
      conditions, and they are currently deterred from attempting further access until the
 8
      barriers are removed. Plaintiff Club and the named Individual Plaintiff intend to
 9
      return to Defendants’ Property and Defendants websites at the end of this action to
 10
      obtain rental services, and to verify that the communication and architectural barriers
 11
      are removed. The named Plaintiffs’ intent to return is genuine. In this case, Plaintiff
 12
      Club has numerous members residing near Defendants Property. Plaintiff Club’s
 13
      members have actual knowledge of the discriminatory conditions as alleged herein
 14
      when the Plaintiff Club investigated the Property and the rental services and
 15
      determined that the Club members would not be able to use the rental services due to
 16
      the discriminatory conditions. Therefore, Plaintiff Club members were and are
 17
      deterred from visiting the properties. Plaintiff Members were not required to
 18

 19
      actually visit the properties. See Civil Rights Education & Enforcement Center v.

 20
      Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017). However, a member of

 21
      Plaintiff Cub did visit and attempt to access Defendants’ rental services at

 22
      Defendants’ property. Plaintiff Club and the individual Plaintiff have specific plans

 23
      to visit at the conclusion of this case to obtain rental information and to verify the

 24
      Defendants ceased its discriminatory conduct by removing communication and

 25
      physical barriers to access to the rental services.
 26

 27    DISCRIMINATORY PRACTICES IN HOUSING ACCOMMODATIONS –
 28

                       13
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 1
      FAIR HOUSING ACT CLAIMS
 2
      27.   FHA Standing:
 3
            Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
 4
      complaint, Defendants discriminated against Plaintiffs in violation of FHA sections §
 5
      3604(f)(1- 3) and 42 § 3604(c), as further detailed below. As a result, the present
 6
      named Plaintiffs suffered injury as a result of Defendants discriminatory actions, and
 7
      named Plaintiffs now pray for damages, injunctive relief, declaratory relief, and
 8
      other relief as hereinafter stated. The Federal Fair Housing Act applies to
 9
      Defendants’ apartment complex since it has more than 4 residential units. FHA
 10
      standing is substantially broader than standing under the ADA due to the critically
 11
      important need of adequate availability of housing for the disabled. A potential
 12
      plaintiff is not even required to have an interest in renting a particular property or
 13
      dwelling to have standing. Smith v. Pacific Properties and Development Corp, 358
 14
      F.3d 1097, 1099 (9th Cir 2004) [Testers have standing to bring Fair Housing Act
 15
      claims, Id 1099, 1104]. Under the Act, any person harmed by discrimination,
 16
      whether or not the target of the discrimination, can sue to recover for his or her own
 17
      injury. See Trafficante v. Metropolitan Life Ins. Co., 409 U.S. 205, 212, 93 S.Ct. 364,
 18
      34 L.Ed.2d 415 (1972). “This is true, for example, even where no housing has
 19
      actually been denied to persons protected under the Act.” San Pedro Hotel v City of
 20
      Los Angeles, 159 F.3d 470, 474-475 (9th Cir 1998). In the present case, the named
 21
      Plaintiffs alleged they suffered the injury of discriminatory conduct by Defendants,
 22
      and that the named Plaintiffs suffered monetary and other damages as a result. The
 23
      named Plaintiffs seek injunctive relief as well as damages, both of which are
 24
      available under 42 USC § 3613(c). Assuming arguendo in the present case, that
 25
      prospective injunctive relief was not available to Plaintiffs due to mootness or
 26
      otherwise, which Plaintiffs dispute; the named Plaintiffs are still permitted to recover
 27
      damages under their federal FHA claims. Harris v Itzakhi, 183 F.3d 1043, 1050 (9th
 28

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 1
      Cir 1999) [During the appeal in Harris case, the plaintiff therein moved Three
 2
      Thousand (3000) miles away and her injunctive claims became moot. However,
 3
      Plaintiff’s claim for damages survived and was not affected]. In the present case,
 4
      while Plaintiffs can satisfy the injunctive relief prudential standing requirements, the
 5
      above Ninth Circuit Harris court authority makes it clear that those prudential
 6
      standing requirements for injunctive relief are not applicable to Plaintiffs FHA
 7
      damage claims. Hence, in the present case, Plaintiffs damage claims survive even if
 8
      prospective injunctive relief is not available. The present Plaintiff Club has
 9
      organization standing separately on its own under the FHA. Additionally, under the
 10
      FHA, Plaintiff Club has associational standing to assert its Club member claims
 11
      since it only seeks injunctive and declaratory relief as to its Club members. Plaintiff
 12
      Club and the named Individual Plaintiff have standing with respect to the following
 13
      FHA claims.
 14

 15
      CLAIM I: Discrimination In Violation of 42 § 3604(f)(1) - Failure To Have A
 16
      Policy For Receiving Prospective Tenant Accommodation Requests, Failure To
 17
      Train Staff, And Failure To Make The Policy Known To The Plaintiffs
 18
      28.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
 19
      complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
 20
      this FHA section. This FHA statute states it is unlawful to discriminate in the sale or
 21
      rental, or to otherwise make unavailable or deny, a dwelling to any buyer or renter
 22
      because of a handicap of (A) that buyer or renter; (B) a person residing in or
 23
      intending to reside in that dwelling after it is so sold, rented, or made available; or…
 24
      §3604(f)(1) [emphasis added]. See Texas Dept. of Housing and Community Affairs
 25
      v Inclusive Communities Project, 135 S.Ct. 2507, 2519 (2015) [FHA statutory
 26
      scheme permits disparate impact claims, and those type of claims do not require
 27
      intent]. due to Defendants’ communication and architectural barriers, Defendants
 28

                       15
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 1
      discriminated against Plaintiffs by failing to have a policy, practice, or method for
 2
      Plaintiffs to make a reasonable accommodation request for equal access to their
 3
      rental services on their website or at their Property. Defendants have an affirmative
 4
      duty to have a policy, process to receive such accommodation requests and to
 5
      respond to said requests. See Giebeler v. M & B Associates, 343 F.3d 1143 (9th Cir.
 6
      2003). As a result, Defendant caused Plaintiffs to suffer disparate impact
 7
      discrimination.
 8

 9
      CLAIM II: Failure to Engage in Interactive Process In Violation Of The Fair
 10
      Housing Act And California Fair Employment And Housing Act
 11
      29.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
 12
      complaint, Plaintiffs suffered discrimination by Defendants in violation of FHA
 13
      section § 3604(f)(1) and § 3604(f)(2). Plaintiffs contend that Defendant failed to
 14
      engage in a good-faith interactive process to determine and to implement effective
 15
      reasonable accommodations so that Plaintiffs could gain equal access Defendants’
 16
      rental services, to apply for a lease, or to allow Plaintiffs to access Defendants’ rental
 17
      services both on or off the property and apartments.
 18
      CLAIM III: Discrimination In Violation of 42 § 3604(f)(2)
 19
      30.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere herein this
 20
      complaint, the named Plaintiffs suffered discrimination by Defendants in violation of
 21
      this FHA section § 3604(f)(2). This FHA section states “it shall be unlawful to
 22
      discriminate against any person in the terms, conditions, or privileges of sale or
 23
      rental of a dwelling, or in the provision of services or facilities in connection with
 24
      such dwelling”. Plaintiffs more specific factual basis for this claim is set forth
 25
      above at ¶¶23-26 above. As previously stated, the named Individual Plaintiff was a
 26
      prospective renter and Plaintiff Club was also seeking rental housing on behalf of the
 27
      named Individual Plaintiff ¶¶8 – 26 above. In the instant case, Defendant’s rental
 28

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 1
      services located on the Property or off-site are “services” in connection with the
 2
      rental of a dwelling and the on-site or off-site rental services provided fall within the
 3
      FHA statute. In the instant case, the named Plaintiffs both assert that Defendant’s
 4
      failure to remove communication and architectural barriers to permit access to
 5
      Defendant’s on-site rental services contained is a separate, independent, actionable
 6
      violation of this FHA section § 3604(f)(2), even without reference to the ADA as a
 7
      predicate. Plaintiffs have alleged that Defendants’ Property has overt and obvious
 8
      physical barriers to access its rental services provided at the property. See ¶¶25 -26.
 9
      The 9th Circuit Smith court stated that the mere observation of overt architectural
 10
      barriers is actionable. Smith at 1104 [“To read an additional standing requirement
 11
      into the statute beyond mere observation, however, ignores that many overtly
 12
      discriminatory conditions, for example, lack of a ramped entryway, prohibit a
 13
      disabled individual from forming the requisite intent or actual interest in renting or
 14
      buying for the very reason that architectural barriers prevent them from viewing the
 15
      whole property in the first instance” (emphasis in original)]. The Smith court found
 16
      Defendants liable under this FHA subsection even though that case did not involve
 17
      ADA Title III claims. However, Plaintiffs did not just allege that Plaintiff Club
 18
      observed Defendant’s overt architectural barriers, but Plaintiffs alleged that a
 19
      Plaintiff Club member experienced the barriers, that the named Individual Plaintiff
 20
      had actual knowledge of Defendants’ communication and architectural barriers and
 21
      Plaintiff LEE was deterred from obtaining equal access to Defendant’s rental
 22
      services located thereon. Defendants also discriminated against Plaintiffs by failing
 23
      to modify its practices and policies to provide access via other methods of access to
 24
      its rental services located on or off the property site. Defendant’s failure to remove
 25
      the architectural and communication barriers to access its facilities and the rental
 26
      services located thereon, or failure to provide an accommodation to provide methods
 27
      of alternate access to their rental services, constitutes the prohibited discrimination,
 28

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 1
      separately and independently. Additionally, Defendant’s conduct is also prohibited
 2
      under ADA Title III and constitutes a second, separate, independent source of
 3
      discrimination against Plaintiffs in violation of FHA § 3604(f)(2). Since Defendants
 4
      discriminatory conduct involves Defendants’ rental facilities and its rental services
 5
      located therein, Plaintiffs assert any discriminatory conduct found in violation of
 6
      ADA Title III also constitutes prohibited “discrimination” under FHA § 3604(f)(2).
 7
      CLAIM IV: Discrimination In Violation of 42 § 3604(f)(3)(A and B only)
 8
      31.   Plaintiffs do not make any claim against Defendants for a failure to “design
 9
      and construct” pursuant to § 3604(f)(3)(C). Based on the facts plead at ¶¶ 8 - 26
 10
      above and elsewhere herein this complaint, Plaintiffs suffered discrimination by
 11
      Defendants in violation of FHA sections § 3604(f)(3)(A, B) only. The FHA requires
 12
      that “….[f]or the purposes of this subsection, discrimination includes-- (B) a refusal
 13
      to make reasonable accommodations in rules, policies, practices, or services, when
 14
      such accommodations may be necessary to afford such person equal opportunity to
 15
      use and enjoy a dwelling...” 42 § 3604(f)(3)(B). See also Giebeler v. M & B
 16
      Associates, 343 F.3d 1143 (9th Cir 2003). Defendants improperly refused Plaintiffs’
 17
      repeated written and other requests for an accommodation to have equal access to its
 18
      rental services.
 19
      CLAIM V: Discrimination In Violation of 42 § 3604(c) As To NSA
 20
      32.   Based on information, belief, and the facts plead at ¶¶ 8 – 26 above and
 21
      elsewhere herein, Plaintiffs herein alleges that Defendants caused Plaintiffs to suffer
 22
      the injury of discrimination since Defendants violated 42 U.S.C. §§ 3604 (c) with
 23
      respect to its notices, statements, and advertisements (“NSA”). Plaintiffs allege that
 24
      Defendants discriminated against them when Defendants made, printed, or
 25

 26
      published, or caused to be made printed, or published notices, statements, or

 27
      advertisements (“NSA”) that suggest to an ordinary reader a preference to attract

 28

                         18
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 1
      tenants without disabilities. Defendants' Internet advertising regarding its rental
 2
      services has an unlawful disparate impact on Plaintiffs.
 3

 4
      SECOND CAUSE OF ACTION : Violation of California Fair Housing Act
 5
      33.     Failure to Provide Obvious Reasonable Accommodation and Modification:
 6
      Based on information, belief and the facts stated above at ¶¶ 8 – 26 above and
 7
      elsewhere in this complaint, Plaintiffs allege that Defendants refused to make
 8
      reasonable accommodations in rules, policies, practices, or services in violation of
 9
      CA Government Code sections 12927 and 12955.2, when these accommodations
 10
      may be necessary to afford a disabled person equal opportunity to use and enjoy
 11
      Defendants’ rental services. As stated in detail above, Defendants refused to make
 12
      reasonable accommodations with the instant Plaintiffs and discriminated against each
 13
      of them on the basis of disability.
 14

 15
      THIRD CAUSE OF ACTION AGAINST ALL DEFENDANTS- Claims Under
 16
      The Americans With Disabilities Act Of 1990
 17
      34.   ADA Standing:
 18
            ADA Title III does cover public and common use areas at housing
 19
      developments when these public areas are, by their nature, open to the general
 20
      public. An office providing rental services is open to the general public. (See U.S.
 21
      Department of Justice - ADA Title III Technical Assistance Section III-1.2000,
 22
      Illustration 3, office on or off the site covered). The parking and paths of travel to
 23
      the office on or off the site are also covered. See Section III–1.2000, ADA Title III
 24
      Technical Assistance Manual, http://www.ada.gov/taman3.html (“ILLUSTRATION
 25
      3: A private residential apartment complex contains a office on or off the site. The
 26
      office on or off the site is a place of public accommodation”). See Kalani v Castle
 27
      Village, LLC, 14 F.Supp.3d 1359, 1371 (E.D.Cal, 2014)[ citing Johnson v. Laura
 28

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 1
      Dawn Apartments, LLC, 2012 WL 33040 at *1 n. 1 (E.D.Cal.2012) (Hollows, M.J.)
 2
      (“[t]he leasing office of an apartment is a place of public accommodation.] . In the
 3
      present case, the named Plaintiffs have also sufficiently alleged that Defendants
 4
      provide rental services at the property. Following prior sister Circuit Courts of
 5
      Appeals decisions, our Ninth Circuit Court very recently held that an ADA Plaintiff
 6
      can be only a “tester” and have standing. See Civil Rights Education & Enforcement
 7
      Center v. Hospitality Properties Trust, 867 F.3d 1093 (9th Cir. 2017) [the Ninth
 8
      Circuit CREEC court held (1) ADA “tester” standing is valid and a Plaintiff’s
 9
      motivation for visit is “irrelevant”, and (2) an ADA “deterrent effect doctrine” claim
 10
      does not require a Plaintiff to have a personal encounter with the barrier to equal
 11
      access, only to have knowledge of the barrier] citing Havens Realty Corp. v.
 12
      Coleman, 455 U.S. 363, 372–74, 102 S.Ct. 1114 (1982); Smith v. Pacific Properties
 13
      and Development Corp, 358 F.3d 1097, 1102-1104 (9th Cir 2004); Chapman v. Pier
 14
      1 Imports (U.S.) Inc., 631 F.3d 939 (9th Cir 2011, en banc); Houston v. Marod
 15
      Supermarkets, Inc., 733 F.3d 1323, 1335–37 (11th Cir. 2013); Colo. Cross Disability
 16
      Coal. v. Abercrombie & Fitch Co., 765 F.3d 1205, 1210–11 (10th Cir. 2014). In the
 17
      present case, the named Plaintiffs each have ADA standing. Plaintiffs have alleged
 18
      that Defendants discriminated against Plaintiffs in violation of ADA Title III statutes
 19
      and regulations as detailed further in the ADA claims stated below. As a result, the
 20
      named Plaintiffs have each suffered injury and each seek only injunctive and
 21
      declaratory relief pursuant to their ADA Claims.
 22
      CLAIM I: Auxiliary Aids – Failure To Effectively Communicate
 23
      35.   42 United States Code 12182(b)(2)(iii) states, "a failure to take such steps as
 24
      may be necessary to ensure that no individual with a disability is excluded, denied
 25
      services, segregated or otherwise treated differently than other individuals because of
 26
      the absence of auxiliary aids and services, unless the entity can demonstrate that
 27
      taking such steps would fundamentally alter the nature of the good, service, facility,
 28

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 1
      privilege, advantage, or accommodation being offered or would result in an undue
 2
      burden;..." Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this
 3
      complaint, Plaintiffs are informed, believe, and thereon allege that Defendants
 4
      violated said provision. Plaintiffs set forth the factual basis for this claim most
 5
      specifically at ¶¶ 13 -14, 16-24 above. The ADA “applies to the services of a place
 6
      of public accommodation, not services in a place of public accommodation. To limit
 7
      the ADA to discrimination in the provision of services occurring on the premises of a
 8
      public accommodation would contradict the plain language of the statute.” Nat’l
 9
      Fed’n of the Blind v. Target Corp., 452 F. Supp. 2d 946, 953 (N.D. Cal. 2006)
 10

 11
      (emphasis added) (citing Weyer v. Twentieth Century Fox Film Corp., 198 F.3d

 12
      1104, 1115 (9th Cir. 2000) [holding that “whatever goods or services the place

 13
      provides, it cannot discriminate on the basis of disability in providing enjoyment of

 14
      those goods and services”]). An ADA plaintiff may challenge a business’ online

 15   offerings as well. So long as there is a “nexus”—that is, “some connection between
 16   the good or service complained of and an actual physical place”—a plaintiff may
 17   challenge the digital offerings of an otherwise physical business. See Gorecki v.
 18   Hobby Lobby Stores, Inc, 2017 WL 2957736, at *4 (C.D. Cal. June 15, 2017) [Case:
 19   CV 17–1131–JFW (SKx)]. The ADA requires the Defendants to provide effective
 20   communication to the instant Plaintiffs and to people with disabilities. In the
 21   present case, Plaintiffs experienced and have knowledge that Defendants failed to
 22   have a required procedure to provide effective communication. Plaintiffs allege that
 23   Defendants failed to train their staff on the way to use the auxiliary aids. Defendants
 24   did not provide any auxiliary aid and the Defendants did not provide any reasonable
 25   accommodation to the overt and obvious communication barriers, and failed to
 26   respond to Plaintiffs’ requests for accommodation. Plaintiffs are not demanding that
 27   Defendants provide a specific reasonable accommodation or a specific auxiliary aid.
 28

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 1
      ADA law allows the Defendants to decide what auxiliary aid and reasonable
 2
      accommodation will be provided. In this case, however, Defendants failed to
 3
      provide any reasonable accommodation for the overt and obvious communication
 4
      barriers to equal access to their rental services, failed to provide any auxiliary aid,
 5
      and failed to provide any effective communication. Plaintiffs allege that Defendants’
 6
      websites provide a contact number for the general public, but Defendants failed to
 7
      provide Plaintiffs with the required effective communication using texting or other
 8
      alternate means of communication for Plaintiffs and other people with a deaf
 9
      condition or a speech condition. Defendants’ conduct discriminates against Plaintiff
 10

 11
      Club’s members that have hearing disabilities and Club’s members with speech

 12
      disabilities. Defendants are required to provide, on Defendants’ websites, to provide

 13
      a method to effectively communicate with Plaintiff Club members that have hearing

 14
      and speech disabilities, and other people that are deaf or have speech impairments.

 15   CLAIM II: Denial of Participation
 16   36.   42 United States Code 12182(b)(1)(A)(i) states, "It shall be discriminatory to
 17   subject an individual or class of individuals on the basis of a disability or disabilities
 18   of such individual or class, directly, or through contractual, licensing, or other
 19   arrangements, to a denial of the opportunity of the individual or class to participate in
 20   or benefit from the goods, services, facilities, privileges, advantages, or
 21   accommodations of an entity." Based on the facts plead at ¶¶ 8 - 26 above and
 22   elsewhere in this complaint, Plaintiffs are informed, believe, and thereon allege that
 23   Defendants violated said provision. Plaintiffs set forth the factual basis for this claim
 24   most specifically at ¶¶ 20-24 above. Defendants discriminated against Plaintiffs in
 25   violation of 42 United States Code 12182(b)(1)(A)(i) and 42 U.S.C. § 12188.
 26   CLAIM III: Participation in Unequal Benefit
 27   37.   Defendants provide unequal benefit for people with disabilities in violation of
 28

                       22
                                                                                    COMPLAINT
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 1
      42 United States Code 12182(b)(1)(A)(ii) and 42 U.S.C. § 12188. Based on the facts
 2
      plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,
 3
      believe, and thereon allege that Defendants discriminated against Plaintiffs in
 4
      violation of said provision. Plaintiffs set forth the factual basis for this claim most
 5
      specifically at ¶¶ 20-24 above.
 6
      CLAIM IV: Separate Benefit
 7
      38.   Defendants’ photographs discriminate against Plaintiffs in violation of 42
 8
      United States Code 12182(b)(2)(A)(iii) and 42 U.S.C. § 12188. Based on the facts
 9
      plead at ¶¶ 8 - 26 above and elsewhere in this complaint, Plaintiffs are informed,
 10

 11
      believe, and thereon allege that Defendants discriminated against Plaintiffs in

 12
      violation of said provision. Plaintiffs set forth the factual basis for this claim most

 13
      specifically at ¶¶ 20-24 above.

 14
      CLAIM V: Integrated Settings

 15   39.   Defendants’ rental services are not integrated for Plaintiffs and people with
 16   disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42 U.S.C. §
 17   12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
 18   Plaintiffs are informed, believe, and thereon allege that Defendants discriminated
 19   against Plaintiffs in violation of said provision. Plaintiffs set forth the factual basis
 20   for this claim most specifically at ¶¶ 20-24 above.
 21   CLAIM VI: Failure To Modify Practices, Policies And Procedures
 22   40.   Defendants failed and refused to provide a reasonable alternative by
 23   modifying its practices, policies, and procedures in that they failed to have a scheme,
 24   plan, or design to accommodate Plaintiff Club, its Club members, the individual
 25   named Plaintiff, and/or others similarly situated in utilizing Defendants' rental
 26   services, at its websites and at the Property, in violation of 42 United States Code
 27   12182(b)(2)(A)(ii) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26
 28

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 1
      above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
 2
      allege that Defendants discriminated against Plaintiffs in violation of said provision.
 3
      Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 18-26 above.
 4
      CLAIM VII: Failure To Remove Architectural And Communication Barriers
 5
      41.   Plaintiffs allege that Defendants failed to remove architectural barrier and
 6
      communication barriers as required in violation of 42 United States Code
 7
      12182(b)(2)(A)(iv) and 42 U.S.C. § 12182. Based on the facts plead at ¶¶ 8 - 26
 8
      above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
 9
      allege that Defendants discriminated against the named Individual Plaintiff in
 10
      violation of said provision. Plaintiffs set forth the factual basis for this claim most
 11
      specifically at ¶¶ 8,9,20-24,25,26 above. The named Individual Plaintiff personally
 12
      reviewed all the information and photographs of Defendants’ property. As a result,
 13
      the named Individual Plaintiff has actual knowledge of the physical and
 14
      communication barriers that exist at Defendants’ Property. The named Individual
 15
      Plaintiff determined that the physical barriers that exist at Defendants’ property,
 16
      directly relate to his disabilities, and make it impossible or extremely difficult for
 17
      him to physically access Defendants’ rental services at the Property. The named
 18
      Individual Plaintiff was deterred by his actual knowledge of the physical and
 19
      communication barriers that exist at Defendants’ Property which include but are not
 20
      limited to the barriers to facilities and services for disabled parking, exterior path of
 21
      travel to the rental services at the property, entrance and interior, since said
 22
      Defendants’ facilities and rental services were not accessible because they failed to
 23
      comply with the Federal ADA Accessibility Guidelines (“ADAAG”) and California's
 24
      Title 24 Building Code Requirements. See ¶¶ 25 for details. The named Individual
 25
      Plaintiff had actual knowledge of these barriers and determined that it would be
 26
      futile gesture for him to go to the Property on the date that he had originally
 27
      intended. The named Individual Plaintiff is currently deterred from returning due to
 28

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 1
      his knowledge of the barriers. At the end of this action, the named Individual
 2
      Plaintiff intends to return to Defendants’ property or off the site location to obtain
 3
      rental information and verify that the communication and physical barriers to
 4
      Defendants’ rental services are removed. Defendants failure to remove the barriers
 5
      to equal access constitutes discrimination against the named Individual Plaintiff.
 6
      CLAIM VIII: Failure To Make Alterations Readily Accessible And Usable
 7
      42.   Defendants are required to make alterations to their facilities in such a manner
 8
      that, to the maximum extent feasible, the altered portions of the facility are readily
 9
      accessible to and usable by individuals with disabilities, including individuals who
 10
      use devices pursuant to 42 U.S.C. §12183(a)(2). Based on the facts plead at ¶¶ 8 -
 11
      26 above and elsewhere in this complaint, the named Plaintiffs are informed, believe,
 12
      and thereon allege that Defendants violated this provision. Plaintiffs allege that
 13
      Defendants altered their facility in a manner that affects or could affect the usability
 14
      of the facility or a part of the facility after January 26, 1992. In performing the
 15
      alteration, Plaintiffs allege that Defendants failed to make the alteration in such a
 16
      manner that, to the maximum extent feasible, the altered portions of the facility are
 17
      readily accessible to and usable by individuals with disabilities, including individuals
 18
      who use devices, in violation of 42 U.S.C. §12183(a)(2).
 19
      CLAIM IX: Administrative Methods
 20

 21
      43.   Plaintiffs are informed, believe, and thereon allege that Defendants contract

 22
      with website providers without making sure that the websites will be accessible to

 23
      people with disabilities in violation of 42 United States Code 12182(b)(1)(B) and 42

 24
      U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this

 25
      complaint, Plaintiffs are informed, believe, and thereon allege that Defendants
 26   discriminated against the named Individual Plaintiff in violation of said provision.
 27   Plaintiffs set forth the factual basis for this claim most specifically at ¶¶18-26 above.
 28

                       25
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 1
      CLAIM X: Screen Out
 2
      44.   Plaintiffs are informed, believe, and thereon allege that Defendants screened
 3
      out Plaintiffs and other people with disabilities in violation of 42 United States Code
 4
      12182(b)(2)(A)(i) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶ 8 - 26
 5
      above and elsewhere in this complaint, Plaintiffs are informed, believe, and thereon
 6
      allege that Defendants discriminated against the named Plaintiffs in violation of said
 7
      provision. Plaintiffs set forth the factual basis for this claim most specifically at ¶¶ 8
 8
      - 26 above. Defendants screened out the named Plaintiffs from its rental services and
 9
      processes, because Defendants failed to remove architectural and communication
 10
      barriers to its website and property, failed to provide required effective alternate
 11
      communication methods, and failed to provide required auxiliary aids.
 12

 13
      CLAIM XI: Denial Of Full And Equal Access
 14
      45.   Defendants are required to provide full and equal access to Defendants' rental
 15
      services, goods, facilities, privileges, advantages, or accommodations pursuant to 42
 16
      United States Code 12182(b) and 42 U.S.C. § 12188. Based on the facts plead at ¶¶
 17
      8 - 26 above and elsewhere in this complaint, Plaintiffs are informed, believe, and
 18
      thereon allege that Defendants discriminated against the named Plaintiffs in violation
 19
      of said provision. Plaintiffs set forth the factual basis for this claim most specifically
 20
      at ¶¶ 8 - 26 above.
 21

 22
      CLAIM XII: Failure To Investigate And Maintain Accessible Features
 23

 24   46.    Defendants made repairs and administrative changes which violated ADA and
 25   its regulations. See ADA Title III Regulations Sec.36.211 Maintenance of accessible
 26   features. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
 27   Defendants failed to provide and then maintain any accessible features in its parking,
 28

                       26
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 1
      path of travel, on or off the property site for rental services and website rental
 2
      services. Plaintiffs are informed, believe, and thereon allege that Defendants
 3
      discriminated against the named Plaintiffs in violation of this provision.
 4

 5    CLAIM XIII: Association
 6
      47.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
 7
      Plaintiffs are informed, believe, and thereon allege that Defendants discriminated
 8
      against the named Plaintiffs in violation of 42 U.S.C. § 12182(b)(1)(E)
 9
            DISCRIMINATORY PRACTICES IN PUBLIC ACCOMMODATIONS
 10
             FOURTH CAUSE OF ACTION: ONLY THE INDIVIDUALL NAMED
 11
      PLAINTIFF AGAINST ALL DEFENDANTS - CLAIMS UNDER CALIFORNIA
 12
                                    ACCESSIBILITY LAWS
 13
      CLAIM I: Denial Of Full And Equal Access
 14
      48. Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint, the
 15
      named Individual Plaintiff was denied full and equal access to Defendants' goods.
 16
      services, facilities, privileges, advantages, or accommodations within a public
 17
      accommodation owned, leased, and/or operated by Defendants as required by Civil
 18
      Code Sections 54, 54.1, and specifically 54.1(d). The factual basis for this claim is at
 19

 20
      18-28 above.

 21
      CLAIM II: Failure To Modify Practices, Policies And Procedures

 22
      49.    Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,

 23
      the named Individual Plaintiff was denied full and equal access to Defendants' goods.

 24
      Defendants failed and refused to provide a reasonable alternative by modifying its

 25
      practices, policies, and procedures in that they failed to have a scheme, plan, or

 26
      design to assist Plaintiff Members and/or others similarly situated in entering and

 27
      utilizing Defendants' services as required by Civil Code § 54.1. The factual basis for
 28

                       27
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 1
      this claim is at 18-28 above.
 2
      CLAIM III: Violation Of The Unruh Act
 3
      50.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
 4
      the individual, the named Individual Plaintiff was denied full and equal access to
 5
      Defendants' goods. Defendants violated the CA Civil Code § 51 by specifically
 6
      failing to comply with Civil Code §51(f). Defendants' facility violated state
 7
      disability laws, the ANSI Standards, A117, and California's Title 24 Accessible
 8
      Building Code by failing to provide equal access to Defendants’ facilities.
 9
      Defendants did and continue to discriminate against Plaintiff Members in violation
 10
      of Civil Code §§ 51(f), and 52. The factual basis for this claim is at 18-28 above.
 11
                 Treble Damages Pursuant To California Accessibility Laws
 12
      51.   Based on the facts plead at ¶¶ 8 - 26 above and elsewhere in this complaint,
 13
      only the named Individual Plaintiff prays for an award of treble damages against
 14
      Defendants, and each of them, pursuant to California Civil Code sections 52(a) and
 15
      54.3(a). Defendants, each of them respectively, at times prior to and including the
 16
      day the named Individual Plaintiff attempted patronized Defendants’ facilities and
 17
      rental services, and continuing to the present time, knew that persons with physical
 18
      disabilities were denied their rights of equal access. Despite such knowledge,
 19
      Defendants, and each of them, failed and refused to take steps to comply with the
 20
      applicable access statutes; and despite knowledge of the resulting problems and
 21
      denial of civil rights thereby suffered by the named Individual Plaintiff. Defendants,
 22
      and each of them, have failed and refused to take action to grant full and equal access
 23
      to the individual Plaintiff in the respects complained of hereinabove. Defendants,
 24
      and each of them, have carried out a course of conduct of refusing to respond to, or
 25
      correct complaints about, denial of disabled access and have refused to comply with
 26
      their legal obligations to make Defendants’ public accommodation facilities and
 27
      rental services accessible pursuant to the ADAAG and Title 24 of the California
 28

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 1
      Code of Regulations (also known as the California Building Code). Such actions
 2
      and continuing course of conduct by Defendants in conscious disregard of the rights
 3
      and/or safety of the named Individual Plaintiff justify an award of treble damages
 4
      pursuant to sections 52(a) and 54.3(a) of the California Civil Code.
 5

 6
                          DEMAND FOR JUDGMENT FOR RELIEF:
 7
      A.     All named Plaintiffs seeks injunctive relief pursuant to 42 U.S.C. 3613(c) and
 8
      42 U.S.C. § 12188(a). Only the named Individual Plaintiff seeks injunctive relief
 9
      pursuant to CA Civil Code §52. Pursuant to 42 U.S.C. 3613(c), all Plaintiffs request
 10
      this court to enjoin Defendants to cease their discriminatory practices in housing
 11
      rental services, rental housing management services, and for Defendants to
 12
      implement written policies and methods to respond to reasonable accommodation
 13
      and reasonable modification requests. Pursuant to 42 U.S.C. § 12188(a), Plaintiffs
 14
      request this Court enjoin Defendants to remove all barriers to equal access to the
 15
      disabled Plaintiffs in, at, or on their facilities, including but not limited to
 16
      architectural and communicative barriers in the provision of Defendants’ rental
 17
      services. Plaintiffs do not seek injunctive relief pursuant to Cal. Civil Code §55 and
 18
      Plaintiffs do not seek attorneys’ fees pursuant to Cal. Civil Code §55. Plaintiffs do
 19
      not seek any relief at all pursuant to Cal. Civil Code §55.
 20
      B.     All named Plaintiffs seek actual damages pursuant to 42 U.S.C. 3613(c).
 21
      However, Plaintiff Club only seeks damages for itself. Plaintiff Club does not seek
 22
      damages on behalf of its members;
 23
      C. Only the named Individual Plaintiff seeks recovery of actual damages pursuant
 24
      to Cal. Civil Code §§ 52 or 54.3;
 25
      D.     Only the named Individual Plaintiff seeks $4,000 in minimum statutory
 26
      damages pursuant to Cal. Civil Code § 52 for each and every offense of Civil Code §
 27
      51, pursuant to Munson v. Del Taco, (June 2009) 46 Cal. 4th 661;
 28

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 1
      E.    In the alternative to the damages pursuant to Cal. Civil Code § 52 in Paragraph
 2
      C above, only the named individual Plaintiff seeks $1,000 in minimum statutory
 3
      damages pursuant to Cal. Civil Code § 54.3 for each and every offense of Civil Code
 4
      § 54.1;
 5
      F.    All named Plaintiffs seek attorneys' fees pursuant to 42 U.S.C. 3613(c)(2), 42
 6
      U.S.C. § 12205, and Cal. Civil Code §§ 52, 54.3;
 7
      G.    Only the named individual Plaintiff seeks treble damages pursuant to Cal.
 8
      Civil Code §§ 52(a) or 54.3(a);
 9
      H.    The named Plaintiffs are seeking perspective injunctive relief to require the
 10
      Defendants to provide obvious reasonable accommodations, to provide the required
 11
      auxiliary aids and to modify Defendants’ procedures, practices, and policies of the
 12
      Defendants in the provision of Defendants’ rental services. Without perspective
 13
      relief the Plaintiffs will suffer future harm.
 14
      I.    All named Plaintiffs seek a Jury Trial and;
 15
      J.    For such other further relief as the court deems proper.
 16

 17   Respectfully submitted:
 18
                                                       LIGHTNING LAW, APC
 19
      Dated: October 24, 2024
 20
                                               By:     /s/David C. Wakefield
 21                                                    DAVID C. WAKEFIELD, ESQ.
 22
                                                       Attorney for Plaintiffs

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